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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF RHODE ISLAND


   STATE OF NEW YORK, et al.,

                   Plaintiffs,

           v.
                                                              C.A. No. 1:25-cv-00039
   DONALD TRUMP, IN HIS OFFICIAL CAPACITY
   AS PRESIDENT OF THE UNITED STATES, et al.,

                   Defendants.



                           NOTICE OF SUPPLEMENTAL AUTHORITY
          Plaintiff States write to notify the Court of supplemental authority relevant to their pending

  motion for a preliminary injunction (ECF 67): an opinion issued by the U.S. District Court for the

  District of Columbia granting plaintiffs’ motion for a preliminary injunction in National Council

  of Nonprofits v. OMB, No. 1:25-cv-00239 (D.D.C.) (AliKhan, J.), which likewise challenges the

  OMB Directive and associated funding freezes. The opinion, which is attached here as Exhibit A,

  holds (among other things) that the plaintiffs’ claims there are not moot; that the OMB Directive

  is final agency action under the Administrative Procedure Act (“APA”); that the funding freeze put

  in place by the Directive is arbitrary and capricious, in violation of the APA; and that the plaintiffs

  are entitled to injunctive relief.



  Dated: February 25, 2025                                Respectfully Submitted,



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                                  CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that I filed the within via the ECF filing system and that
 a copy is available for viewing and downloading. I have also caused a copy to be sent via the ECF
 System to counsel of record on this 25th day of February, 2025.



                                                     /s/ Alex Hemmer
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